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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

SYLVIA T. DUPREE,                             :

           Plaintiff,                         :

           v.                                 :       Civil Action No. GLR-17-2036

EQUIDATA, INC.,                               :

           Defendant.                         :

                                          ORDER

       Pending before the Court is Plaintiff Sylvia T. Dupree’s Motion to Stay Action

Pending Defendant’s Bankruptcy Case (ECF No. 13). Having reviewed the Motion, the

Court concludes that a stay pending resolution of Defendant Equidata, Inc.’s (“Equidata”)

bankruptcy case is warranted. Accordingly, it is this 28th day of December, 2017 hereby:

       ORDERED that Dupree’s Motion to Stay Action Pending Defendant’s Bankruptcy

Case (ECF No. 13) is GRANTED;

       IT IS FURTHER ORDERED that the case is STAYED pending the resolution of

Equidata’s bankruptcy case;

       IT IS FURTHER ORDERED that the Clerk ADMINISTRATIVELY CLOSE the

case, subject to reopening by either party; and

       IT IS FURTHER ORDERED that the parties shall SUBMIT a joint status report

within ninety days after the date of this Order.


                                                                 /s/
                                                   ___________________________
                                                   George L. Russell, III
                                                   United States District Judge
